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1    JON K. RENGE, Bar #188529
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2    Fresno, California 93721
     Telephone: (559) 444-0300
3
     Attorney for Defendant
4    ABEL FABELA ZARAGOZA
5
6                                 IN THE UNITED STATES DISTRICT COURT
7                               FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9    UNITED STATES OF AMERICA,                       )   NO. 1:11-CR-00016 AWI
                                                     )
10                         Plaintiff,                )   STIPULATION TO CONTINUE SENTENCING
                                                     )   HEARING; [PROPOSED] ORDER
11          v.                                       )
                                                     )
12   ABEL FABELA ZARAGOZA,                           )
                                                     )
13                         Defendant.                )
                                                     )
14                                                   )
15          IT IS HEREBY STIPULATED by and between the parties hereto through their respective
16   counsel, Henry Z. Carbajal III, Assistant United States Attorney, counsel for Plaintiff, and Jon K. Renge,
17   counsel for Defendant Abel Fabela Zaragoza, that the sentencing hearing in the above-referenced
18   matter now set for August 20, 2012, may be continued to September 24, 2012 at 9:00 A.M.
19          This continuance is requested by counsel for Defendant as defense needs time research the
20   applicable sentencing laws and complete its sentencing memorandum. The requested continuance will
21   conserve time and resources for the parties and the court.
22          As this is a sentencing hearing, no exclusion of time is necessary under the Speedy Trial Act.
23
24                                                                BENJAMIN B. WAGNER
                                                                  United States Attorney
25
     DATED: August 16, 2012                                  By: /s/ HENRY Z. CARBAJAL III
26                                                               Assistant United States Attorney
27
28
            Case 1:11-cr-00016-DAD-BAM Document 104 Filed 08/17/12 Page 2 of 2


1
2
3    DATED: August 16, 2012                       By: /s/ JON K. RENGE
                                                      Attorney for Defendant
4                                                     ABEL FABELA ZARAGOZA
5
6
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8
                                            ORDER
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10
     IT IS SO ORDERED.
11
12   Dated:       August 16, 2012
     ciem0h                                         CHIEF UNITED STATES DISTRICT JUDGE
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     Stipulation to Continue;
     [Proposed] Order                         -2-
